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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA

 

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vs. Case No. ELH-20-361
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JAMES IAN PICCIRILLI
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A hearing, having been held on this date, at which the defendant was represented by x ze
Brendan Hurson - AFPD , and the Government was represented by AssiStant®3 3
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United States Attorney__ Brandon Moore ,itis ©
ORDERED, this 13th _ day of. November 2020 , that the
above-named defendant be, and the same hereby is, DETAINED by agreement of the parties
without prejudice to either side requesting a prompt hearing to set appropriate conditions of
release or otherwise address the detention of the defendant. oo fb = -
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Thomas. We. DiGperobames DSM
Thomas M. DiGirolafho | ES 2 “a
United States Magistrate Judge Ba ~ =e
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U.S. District Court (4/2000) Criminal Magistrate Forms: Detention by Agreement

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